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AO 199A (Rev. 12/11) Order Setting Conditions of Release Page | of es
puch in ODEN COURT!
U.S.D.C. Atlanta

UNITED STATES DISTRICT COURT may 25,2021

ORIGINAL bri

Northern District of Georgia

 

 

United States of America
Vv.
Case No. 1:21-MJ-533-AJB
DAVID PANBEHCHI
Defendant

Nee eee”

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

on

 

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.

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ADDITIONAL CONDITIONS OF RELEASE

 

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:
Person or organization
Address (only if above is an
organization)
City and state Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody .

 

 

 

Signed:

 

Custodian Date
(x ) (7) The defendant must:
submit to supervision by, report for supervision to , and follow all instructions of
(x) (a) (x) U.S. Pretrial Services ( ) U.S. Probation Office

telephone number 404-215-1950 5 () No later than X Pelore leaving courthouse,_or
(x ) (6) maintain or actively seek lawful and verifiable employment, unless as limited below.

( ) (c) continue or start an education program. IT.00 F ”
(x ) (d) surrender any passport to your supervising officer by S[zbhewd and do not obtain nor possess a passport, passport card, visa, or other
international travel document, not obtain or possess a passport or other intérnational travel document in your name, another name or on behalf of a third
party, including minor children, at any time while this order is in effect.
(x) | (e) abide by the following restrictions on personal association, residence, or travel: Reside at address provided to Pretrial Services

and do not change your_address or telephone number w/o written PTS pre- approval
(x) (f) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,

including, but not limited to, the following: any and all co-defendants and/or unindicted co-conspirators and

 

aD (y) (g) get medical or psychiatric treatment: () as directed by your supervising officers ()

 

 

( )(h) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

(x) (i) not possess a firearm, destructive device, other weapon, or ammunition, in your home, vehicle or,place of employment, or a your
person. Fitearms Wrst be removed Fon pre MASE. 4 he{ ewe ade rdart vey,

(x) (G) notusealcohol (_ ) at all (QY) excessively.

(x) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless lawfully prescribed by a
licensed medical practitioner.

(_) (1) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

(_ ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer and comply with all requirements of that program.

( )(m) participate in one of the following location restriction programs and comply with its requirements as directed.

(.) (i) Curfew. You are restricted to your residence every day ( ) from to , or (x) as
directed by the pretrial services office or supervising officer; or

() Gi) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment: attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or

(.) Gii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

() (©) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided. The Court leaves the specific form of location monitoring to your supervising officer’s
discretion, unless otherwise noted.
(.) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or

supervising officer.

 

(x ) (p) report within 72 hours to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

(x ) (p) restrict travel to the Northern District of Georgia ynless thg supervising officer has approved travel, in advance.
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Advice of Penalties and Sanctions
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in a separate
term of imprisonment, a fine, or both.

While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than ten
years; if you commit a federal misdemeanor offense, the punishment is an additional prison term of not more than one year. This sentence
will be consecutive (i.e., in addition to) any other sentence you receive.

It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to: obstruct a criminal
investigation; tamper with a witness, victim or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or
officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, orboth.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

L acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I oy of the penalties and sanctions set forth

above.
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x ht) R

 

 

Signature of Defendant
O10 Burts, be
Address
Atliati G4 3o 829 -“/%0 SéF
City State Zip Code Telephone fy tf

Directions to United States Marshal

( X) The defendant is ORDERED released after processing.
The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant

t has posted bond and/or complied with all other conditions for release. If still in custg@y, the defendant must be produced before
the appropriate judge at the time and place specified.
Date: M us is 1 al\

eo “ignarre Judicial Officer

ALAN J. BAVERMAN y S. MAGISTRATE JUDGE
Name and Title of Judicial Officer

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE  U.S.ATTORNEY — U.S. MARSHAL

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